                        UNITED STATES BANKRUPTCY COURT
                        EASTERN DISTRICT OF PENNSYLVANIA

IN RE:         John L. Smith,                       : Chapter 13
                            Debtor                  : Case No. 23-12838-mdc
_____________________________________________ :
                                              :
Delaware County Tax Claim Bureau,             :
                      Movant                  :
                                              :
              vs.                             :
                                              :
John L. Smith and Ivi Linn Robinson,          :
                      Respondents             :
                                              :
              and                             :
                                              :
Kenneth E. West,                              :
                      Trustee                 :

          MOTION OF TAX CLAIM BUREAU OF DELAWARE COUNTY
       FOR RELIEF FROM THE AUTOMATIC STAY AND CO-DEBTOR STAY
       UNDER SECTION 362 OF THE UNITED STATES BANKRUPTCY CODE
       PURSUANT TO BANKRUPTCY PROCEDURE RULE 4001 REGARDING
              3805 STATE ROAD, UPPER DARBY TOWNSHIP AND
               FOR A BAR ON FURTURE BANKRUPTCY FILINGS

       Movant, the Delaware County Tax Claim Bureau, by and through its counsel Toscani,

Stathes & Zoeller, LLC hereby request relief from the Automatic Stay and Co-Debtor Stay for

leave to sell certain real property owned by Debtor John L. Smith and non-filing co-owner Ivi

Linn Robinson located at 3805 State Road, Upper Darby Township, Delaware County,

Pennsylvania bearing folio number 16-10-01561-00 and a bar order regarding future bankruptcy

cases and respectfully avers as follows:

   1. Movant, the Delaware County Tax Claim Bureau, is a County Agency responsible for

       collecting past due real estate taxes in Delaware County, Pennsylvania.

   2. John L. Smith (“Debtor”) filed a petition seeking relief under Chapter 13 of the

       Bankruptcy Code on September 20, 2023.

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3. Upon information and belief, Debtor is a partial owner of 3805 State Road, Upper Darby

   Township, Delaware County, Pennsylvania bearing folio number 16-10-01561-00

   (“subject premises”).

4. Upon information and belief, Ivi Linn Robinson is a non-filing co-owner of the subject

   premises. A true and correct copy of Movant’s general information for the subject

   premises is attached hereto, made a part hereof and marked as Exhibit “A”.

5. The Delaware County Tax Claim Bureau filed Proof of Claim 2 on September 29, 2023

   for the 2018-2022 delinquent real estate taxes due on 3805 State Road, Upper Darby

   Township, Delaware County, Pennsylvania bearing folio number 16-10-01561-00 listed

   as a secured claim in the amount of $58,289.63 including interest at the rate of 9% on the

   entire claim (“Claim Number 2”). A true and correct copy of the Proof of Claim is

   attached hereto, made a part hereof and marked as Exhibit “B”.

6. That Pennsylvania allows a tax claim bureau of a Second Class County to add nine

   percent (9%) interest on all delinquent real estate taxes turned over to the tax claim

   bureau for collection. The application of the interest charge is authorized by Section 306

   of the Real Estate Tax Sale Law, Act 542 of 1947 as amended. Codified at 72 P.S.

   §5860.101, et seq.

7. Upon information and belief, Debtor is familiar with the bankruptcy system as a result of

   his prior, although unsuccessful, Chapter 13 bankruptcy filings.

8. Debtor filed a Chapter 13 petition at 19-17732-mdc on December 12, 2019, wherein:

       a. At the time of filing Debtor owed the 2017-2018 real estate taxes on the subject

           premises.

       b. Debtor reported a monthly real estate tax expense of $667.00 for current and

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           future real estate taxes. A true and correct copy of the 2019 Schedule J is

           attached hereto, made a part hereof and marked as Exhibit “C”.

       c. Debtor did not pay the 2019, 2020 or 2021 real estate taxes due on the subject

           premises during this case.

       d. The case was dismissed on February 22, 2022.

9. Debtor filed a Chapter 13 petition at 22-12528-mdc on September 21, 2022, wherein:

       a. At the time of filing Debtor owed the 2018-2021 real estate taxes on the subject

           premises.

       b. Debtor reported a monthly real estate tax expense of $483.00 for current and

           future real estate taxes. A true and correct copy of the 2022 Schedule J is

           attached hereto, made a part hereof and marked as Exhibit “D”.

       c. Debtor did not pay the 2022 real estate taxes due on the subject premises during

           this case.

       d. The case was dismissed on February 24, 2023.

10. All three (3) of Debtor’s bankruptcy petitions were filed before a scheduled delinquent

   real estate tax sale of the subject premises thereby engaging the Automatic Stay to thwart

   Movant’s efforts to collect the delinquent real estate taxes due on the subject premises.

11. In 2019, Debtor acknowledged the 2019 and future real estate tax liabilities on Schedule

   J, but did not pay the 2019, 2020 or 2021 real estate taxes when due. See Exhibits “B”

   and “C”.

12. In 2022, Debtor acknowledged the 2022 and future real estate tax liabilities on Schedule

   J, but did not pay the 2022 real estate taxes when due. See Exhibits “B” and “D”.

13. Between February 24, 2023 and September 20, 2023 Debtor did not pay his delinquent

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   real estate taxes due on the subject premises. See Exhibit “B”.

14. The collection of real estate taxes is essential to the funding of the County government,

   local government and the school district.

15. Debtor filed Schedule I on October 31, 2023 and does not anticipate any changes in his

   income. A true and correct copy of Schedule I is attached hereto, made a part hereof and

   marked as Exhibit “E”.

16. Debtor filed Schedule J on October 31, 2023 stating a monthly budget for current and

   future real estate taxes of $667.00 and reporting disposable income of $238.81. Debtor

   does not anticipate any changes in his expenses. A true and correct copy of Schedule J

   is attached hereto, made a part hereof and marked as Exhibit “F”.

17. Although Debtor reported a monthly real estate tax expense of $667.00 in 2023, Debtor

   did not pay the 2023 County real estate taxes due on the subject premises by December

   31, 2023. See Exhibit “A”.

18. Debtor filed a Chapter 13 Plan on October 31, 2023 with a proposed monthly payment of

   $752.00 for 60 months. A true and correct copy of the Plan is attached hereto, made a

   part hereof and marked as Exhibit “G”.

19. Debtor’s monthly disposable income is $238.81 which would result in a total plan

   funding of $14,328.60 over 60 months. See Exhibits “F” and “G”.

20. Debtor’s Chapter 13 Plan purports to pay Movant $37,648.22 resulting in the plan being

   underfunded by $20,641.41, not including the Trustee commission, for Claim Number 2.

   In fact, the total plan funding of $45,120.00 is not sufficient to pay Movant’s Claim

   Number 2. See Exhibits “B” and “G”

21. The Plan does not make note of Claim Number 2, although the claim was filed more than

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   30 days before the Plan was filed. Furthermore, Debtor’s Plan does not differentiate

   between Movant’s Claim Number 2 and Claim Number 3 (filed for 0 State Road bearing

   folio number 16-10-010560-00) rendering the Plan unclear as to the intent of the

   purported, albeit underfunded, payment to Movant. A true and correct copy of Claim

   Number 3 is attached hereto, made a part hereof and marked as Exhibit “H”.

22. Upon information and belief, Debtor does not intend to reorganize his debts but to merely

   continue to delay the delinquent real estate tax sale of the subject premises as Debtor

   lacks the disposable income necessary to reorganize. See Exhibits “B”, “E”, “F” and “G”.

23. Debtor’s lack of intent and ability to reorganize are evidenced by:

       a. Debtor’s inability or refusal to pay the 2019 through 2022 real estate taxes when

           due although reporting a monthly expense for said real estate taxes;

       b. Debtor’s failure to pay the ongoing real estate taxes due on the subject premises

           during his multiple bankruptcy filings;

       c. Debtor’s lack of income to support his monthly expenditures:

       d. Debtor’s lack of income to fund a feasible Chapter 13 Plan;

       e. Debtor’s failure to file a feasible and fully funded Plan to reorganize his debts

           under Chapter 13 of the Bankruptcy Code.

24. Debtor’s lack of good faith is evidenced by:

       a. The failure to identify and pay Movant’s Claim Number 2 in his Chapter 13 Plan;

       b. Debtor’s report of a real estate tax expense on Schedule J without either the

           ability nor intent to pay the real estate taxes;

       c. Debtor’s multiple bankruptcy filings without any meaningful reduction in the

           delinquent real estate taxes due resulting in a substantial and significant increase

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            in the delinquent real estate taxes due;

        d. Debtor’s failure to pay the 2023 real estate taxes while reporting an expense for

            said real estate taxes suggest Debtor did not act in good faith in his 2023

            bankruptcy filing.

25. Debtor’s lack of income, three bankruptcy cases and six years of unpaid real estate taxes

    due on the subject premises is evidence of Debtor’s lack of good faith and reveals

    Debtor’s multiple bankruptcy filings are a scheme to hinder and delay Movant’s attempts

    to collect the delinquent real estate taxes due on the subject premises.

26. Movant lacks adequate protection as Movant lacks the financial ability to reorganize, did

    not pay his post-petition real estate taxes, and is incapable of funding a feasible Chapter

    13 Plan.

27. Cause exists to grant Movant relief from the Automatic Stay when a debtor fails to pay a

    post-petition obligation to the moving party. In the instant case, the Debtor did not pay

    the 2023 County real estate taxes due. See Exhibit “A”.

28. Bad faith or, alternatively, the lack of good faith, in filing the Petition is a sufficient basis

    for the granting of relief of the Automatic Stay.

29. Debtor’s inability and/or lack of intent to reorganize is sufficient basis for granting relief

    from the Automatic Stay.

30. The subject premises could not be exposed to another delinquent real estate tax sale until

    September 2024. Therefore, a bar order is necessary to allow Movant to sell the subject

    premises and collect the unpaid real estate taxes due at the September 2024 Upset Price

    Tax Sale and then, if necessary, at the May 2025 Judicial Real Estate Tax Sale.

    WHEREFORE, the Delaware County Tax Claim Bureau respectfully requests this

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Honorable Court to enter an Order granting relief from the Automatic Stay and Co-Debtor Stay

with regards to the Delaware County Tax Claim Bureau and 3805 State Road, Upper Darby

Township, Delaware County, Pennsylvania bearing folio number 16-10-01560-00 to allow the

Delaware County Tax Claim Bureau to complete the sale of said real property, that no future

bankruptcy case filed within two years of the date of the Order will act as an automatic stay with

regards to the property at 3805 State Road, Upper Darby Township, Delaware County,

Pennsylvania bearing folio number 16-10-01560-00, except for good cause being shown, and

that Rule 4001 (a)(3) is not applicable to the Delaware County Tax Claim Bureau.

                                      Respectfully submitted:

                                      TOSCANI, STATHES & ZOELLER, LLC

Dated:    1/17/24                     BY: _/s/ Stephen V. Bottiglieri _____________
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